Case 2:05-CV-02145-SHI\/|-tmp Document 34 Filed 07/07/05 Page 1-01°8- Pa e|D 24

IN THE UNITEI:) sTATEs DISTRICT coURT m BY D.C.
FoR THE wEsTERN DISTRICT oF TENNESSEE
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HELEN RICHARDSON, as
Administratrix of the Estate
of GEORGE RICHARDSON, JR.,
deceased, and as legal
guardian of the Estate of
TAVARES RICHARDSON, a minor,

No. 05-2145 Ma/P

Plaintiff,
VB.

MARION DUGDALE, M.D., et al.,

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Defendants.

 

ORDER GRANTING IN PART PLAINTIFF'S MOTION TO AMEND COMPLAINT

 

I. INTRODUCTION

Before the court is plaintiff’S Motion to Amend Complaint,
filed June 20, 2005 (dkt #24). Plaintiff seeks to amend her
complaint to (1) dismiss the individual claims against Dr. Buchanan
and Dr. Babb; (2) “state with more particularity” a claim based
upon violations of the Emergency Medical Treatment and Active Labor
Act (“EMTALA”), 42 U.S.C. § l395dd, against defendants Rose M.
Sayger, R.N., and Methodist Healthcare Transplant Program, LLC
(“Methodist”); and (3) add a demand for punitive damages against
defendants Sayger and Methodist under the EMTALA. In her
Certificate of Consultation, plaintiff states that counsel for all

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defendants except Sayger and Methodist do not oppose the motion.
On July 5, 2005, Sayger and Methodist filed their response to the
motion to amend. Defendant Sayger opposes the motion on two
grounds. First, nurse Sayger contends that the motion should be
denied to the extent that the proposed amended complaint seeks to
bring a pnivate cause of action under the EMTALA against her
individuallyy She argues that because section 1395dd of the EMTALA
only authorizes a plaintiff to bring a private cause of action
against a hospital - and not against a physician (or in her case,
a nurse) - the proposed amendment would be futile. Second, Sayger
argues, as she had in her pending motion to dismiss and/or summary
judgment, that she is protected from liability from suit in federal
court by sovereign immunity.

For the reasons below, the motion to amend the complaint is
GRANTED in part.

II . ANALYSIS

A. Applicable Legal Standards

Under Federal Rule of Civil Procedure 15(a), a party must
obtain leave of court or consent of the other party to amend a
complaint after an answer has been served. “[L]eave shall be
freely given when justice so requires.” Fed. R. Civ. P. 15(a).
Nevertheless, a court may deny a motion for leave to amend the
complaint if the amendment would be futile. Yuhasz v. Brush
Wellman¢ Inc., 341 F.3d 559, 569 (6th Cir. 2003)(citing Foman v.

Davis, 371 U.S. 178, 182 (1962)). “A proposed amendment is futile

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if the amendment could not withstand a Rule 12(b)(6) motion to
dismiss.” Rose v. Hartford Underwriters Ins. Co., 203 F.3d 417,
420 (6th Cir. 2000)(citing Thiokol Corp. v. Dep't of Treasurv, 987
F.2d 376, 382~83 (6th Cir. 1993)). Federal Rule of Civil Procedure
12(b)(6) provides that a complaint shall be dismissed if it fails
to state a claim upon which relief can be granted.

When considering a Rule l2(b)(6) motion to dismiss, a court
must treat all of the well-pleaded allegations of the complaint as
true, Savlor v. Parker Seal Co., 975 F.2d 252, 254 (6th Cir. 1992),
and must construe all of the allegations in the light most
favorable to the plaintiff. Scheuer v. Rhodes, 416 U.S. 232, 236
(1974). Any ambiguities in the complaint must be construed in
favor of the plaintiff. In re Sofamor Danek GrouD, Inc., 123 F.3d
394, 400 (6th Cir. 1997). “A court may dismiss a complaint only if
it is clear that no relief could be granted under any set of facts
that could be proved consistent with the allegations.” H_i§l_lg_n__\_r4
King & Spalding, 467 U.S. 69, 73 (1984) .

B. Nb Private Cause of Action Under the EMTALA.Against Physicians

Congress enacted the EMTALA in 1986 in response to growing
concern about “the provision of adequate emergency room medical
services to individuals who seek care, particularly as to the
indigent and uninsured.” H.R. Rep. No. 241, 99th Cong., lst Sess.
(1986), reprinted in 1986 U.S.C.C.A.N. 726-27. Congress was
concerned that hospitals were “dumping” patients who were unable to

pay, by either refusing to provide emergency medical treatment or

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transferring patients before their conditions were stabilized.

42 U.S.C. § 1395dd(a) provides that if any individual comes to
the emergency room of a hospital which participates in Medicare,
and a request is made on the individual's behalf for examination or
treatment for a medical condition, the hospital “must provide for
an appropriate medical screening examination within the capability
of the hospital's emergency department . . . to determine whether
or not an emergency medical condition . . . exists.”

If the hospital determines that the individual has an
emergency medical condition, the hospital must provide either:

(A) within the staff and facilities available at the
hospital, for such further medical examination and such
treatment as may be required to stabilize the medical
condition, or

(B) for transfer of the individual to another
medical facility in accordance with subsection (c) of
this section.

42 U.S.C. § l395(b).

With respect to an aggrieved individual’s private right of
action, the EMTALA provides as follows:

Any individual who suffers personal harnl as a ciirect

result of a participating hospital’s violation of a

requirement of this section may, in a civil action against

theyparticipating hospital, obtain those damages available

for personal injury under the law of the State in which

the hospital is located, and such equitable relief as is

appropriate.

42 U.S.C. § 1395dd(2)(A)(emphasis added).

Neither the Sixth Circuit Court of Appeals nor any court in

this district has considered the issue of whether there is a private

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right of action under the EMTALA against physicians or nurses.
However, this court has exhaustively surveyed the case authority in
other circuits, and has found that every court that has addressed
this issue (except for one) has held that the EMTALA does not
authorize a gmivate cause of action against a pmysician. §§e

Eberhardt v. Citv of Los Angeles, 62 F.3d 1253, 1256 (9th Cir.

1995); ring v. Ahrens, 16 F.3d 265, 271 (eth cir. 1994); Deianey v.

 

Cade, 986 F.2d 387, 393-94 (10th Cir. 1993); Baber v. Hosp. CorD. of
America, 977 F.2d 872, 877 (4th Cir. 1992); Muzurkiewicz v.
Doylestown Hosp., 223 F.Supp.2d 661, 666 (E.D. Pa. 2002); Dysart v.
Selvaggi, 159 F.Supp.Zd 387, 390 (N.D. Tex. 2001); Hicklin v. WBH
Evansvillel Inc., No. 00-0248, 2001 WL 1708827, at *2 (S.D. Ind.
Dec. 14, 2001)(unpublished); Lebron v. Ashford Presbvterian Cmtv.
§Q§pg, 995 F.supp. 241, 243-44 (D.P.R. 1998); serpe;_yi“§g;tnwe§t
Hosp. ctr., Inc., 943 F.supp. 571, 575~76 (D. Md. 1996); smi;n_yg

Janes, 895 F.Supp.875 (S.D. Miss. 1995); Vickers v. Nash General

 

 

Hos . Inc., 875 F.Supp. 313 (E.D.N.C. 1995); Revnolds v. Mercv
Hosp., 861 F.Supp. 214 (W.D.N.Y. 1994); Gatewood 'v. Washinqton
Corp., 933 F.2d 1037, 1040 n.l (D.C. Cir. 1991); JOnes v. Wake

Countv Hosp. Svs., Inc., 786 F.Supp. 538, 545 (E.D.N.C. 1991);
Deberrv v. Sherman Hosp. Ass’n, 775 F.Supp. 1159 (N.D. Ill. 1991);
Lavignette v. We§t Jefferson Medical Ctr., No. 89-5495, 1990 WL
178708, at *2 (E.D. La. Nov. 7, 1990)(unpublished). But see
Sorrells v. Babcock, 733 F.Supp. 1189, 1193 (N.D. Ill.

1990)(interpreting version of the EMTALA in effect prior to 1990

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amendments).

This court agrees with these cases, and likewise concludes that
the EMTALA does not authorize a private cause of action against a
physician, or in this case, a nurse. This conclusion is entirely
consistent with the plain language of the EMTALA. See generally
Chevron USA, Inc. v. Natural Resources Defense Council, Inc., 467
U.S. 837, 842-43 (1984). It is also consistent with the legislative
history of the EMTALA, which “evinces a clear Congressional intent
to bar individuals from pursuing civil actions against physicians.”
Eberhardt, 62 F.3d at 1256 (citing H.R. Rep. No. 241, 99th Cong.,
lst Sess. (1986), reprinted in 1986 U.S.C.C.A.N. 728); §§e_gl§g
sabe;, 977 F.2d at 877.l

I I I . CONCLUS IONS

For these reasons, the motion to amend the complaint is GRANTED

in part. Plaintiff may file, within seven (7) days from the date of

this order, her amended complaint consistent with this order.

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'I'U M. PHAM
United States Magistrate Judge

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Date U

 

lBased on this conclusion, the court need not rule on
Sayger’s sovereign immunity argument.

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July 12, 2005 to the parties listed

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US DISTRICT COURT

